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FR;ANKLIN CGU-NTY _COMMO'N PLEAS COUR’P
CIVIL I)IVISION

RRL Holding Company' of Ohio, LLC
655 `Met:ro-Place South, Sui.te 330
`Dublin, Ohio 4301? : Case No.:

and -Ju'clge
Firefly Ag_ency LLC (f!k»'a IHT :
.Ins!_x_rance Agency G`rouli.;, LLC)
655 Metro Place S__out§h_, Sui.te 330
Dublin, Ohio '430'17
Plaintiifs,
v.
Merrilee Stewart
182 Ccr`rbins Mill Drive
Dub}in, Ohio 4301’?

Defendant.

 

C`OMPLAINT

 

For its Complaint against Defen_daut Merriie'e -Stewa'rt, Plaintiffs RRL.
Hoiding C.ompany of Ohio;. `LLC '("ERRL”) and Firei]y Ag'en`cy LLC {ffk/_a IHT
Insurance Ag€-ney Group, LLC)' (_“FireilyleT"_} (colle.cti;vely “Plaini:i§`s") state -as
follows:

NA‘-I"URE OF THE CASE
1. 'I_‘hi_s is an action to declare Defenda_nt Mer.rilee Stewart a vexatious

litigator. .

'S.'.LK l`(')l.. 3318‘921&'1

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PAKTIE”§_&ND JUR_§S-DICTIDN

2. Fireily!IHT is a limited liability company organized under the laws of
the stats of Ohio. Fi:reHy-’s primary business is §.he sale and service of insurance and
insurance-related prsduct's to consumers and businesses through a network of
independent producers

3. Fi_re`fly[_IH'I‘ is wholly owned by .RRL H-olding Company of 0311`0, L_LC-
-("‘RRL")-. _RRL Hoiding- Comp'any of Ohio, LLC is a limited liability company
organized under the laws of the State of Ohio. The_ current members of Fire;flle.HT
are Bill GriMo`en, Fritz GriHioen, and Ro'd Mayhill.

4. -Stewart is an Ohio resident and currently resides in Franklin County.
S!;ewart- was formsriy a member -of.RRL and officer of`Fireily/IHT.

5. Th`is Com'_t has jurisdiction over this Complaint pursuant to .R.C.
§-2323.52. Venue is proper in Fran.k]in -County__ as a significant portion of the
conduct complained of has occurred in this count-3a and -_Stewar.t resides in this
county

6. Plaintiffs are persons with the authority to bring this action under
R.C-. § 2323.5'2_(B), as they have defended against habitual and persistent vexatious
litigation conduct by 'Stewart..

FACTUAL ALLEGA*I‘IONS
Overvigw
'F. In late 2014, St.ewart was removed as Pre's`ident of FireflyfIHT and as a

member of RRL after she made 'a series of misrepresentations to her panners. fIn

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fletcher 20-17. a three-member arbitration panel found Fireily)'lHT and RRL’s
actions in removing Siewai't to be lawful and consistent with the terms sf the
written agreements governing the parties" relationships

8, Sine_e her removal Ste_wart has engaged in -a bad-faith litigation
vendetta-, filing clai`ins._ complaints and grievances against RRIJIHT` with numerous
oeui‘ts, agencies and tribunalsii and spreading false accusations against RRLBH.T to
the press and police She has invented a massive embezzlement and fraud scheme
at FireilyjII-I’I‘, accusing its owners and employees of criminal activity Ne court
agency or tribunal has ever found any merit to her substantive claims Mereov'er,_
she repeatedly flout-s court rules and orders She has been found to be in contempt
of a court order that she agreed to, and she has been ordered to show cause as to
Why she should not be held in contempt for-peijiury. Her repeated vexatious conduct

is detailed below

 

'9“ On M'areh 2_. 2015-. RRL and FireflyilH’-i‘ Eled a Co:np`laint against
Stewart and a separate company owned by -Stewart, beca.nse"$tewart was illegally-
holding herself out afsj.still aMli-ate'd with RRL and IHT _(Fr'anklin Couniy Coimnon
Pleas- Case No. `lS-CV-QG 1342}.=

1_-(3_. Afl;ei‘ Fii'efly[II-IT sought a preliminary injunction_._ the parties
negotiated an Agi:eed Or_zlei' which prohibited Stewart from holding herself out to

any third parties as aMliateii with F'ii"eil§/"IIHT or RRL.

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11. Stewart repeatedly violated the Agee'd Orde-r. First, in mid'-ZOIS`_.
Defen'dant began filing claims adth FireflyleT'e insurers (i'ncluding Hartfoz:d
Finan'c'ial and Liberty `Mut.ual -Insurance) for recovery of funds lost to alleged
embezzlement by an employee ’I‘he embezzlement claim was an utter fabrication
Moreover_, Stewart &le'd these claims purportedly on behalf of `Fi`reflyleT. but
without any actual authority to act on behalf of Fireflyi-IHT and in violation of the
Agreed Order.

1.`2. Second, on duly 2?, 201_6, Stewart made a complaint to the Colum-bus-
Police Department_, Ca"se Report No, 163056538-000 - pumor'tedly on behalf of
Firele!IHT - against a Fireily!IH'I‘ employee for alleged embezzlement of 5-10
million dolla:l‘s. Slze then contacted a reporter for the 'Columbus Dispatch in an
attempt to have a story miti;en concerning the “embezzlement scandal” at
Fitelly/IHT.

.13. The_se actions lied Judge K_im Brow-n to lind that Stewart had violated
the Ag”).'eecl Order_ After a Fel)rumfy `8_. 2017 show cause hearing Maglstrate
"l‘imothy .N. Ha;ri.ldstad found that _Stewart was in contempt of the Agreed {erer
and recommended sancti'one.

14. As is her -practice, on Febrnary .27, 20_1_'1`., St-ewart filed a motion
objecting to the contempt incing and sanctions recommendation. Jo`dge B.rown_
denied .StewaIt-’-s _-m-otion.

15. In the same ot.der_, Jud`g'-e `Brown also found that 'Stewart- had

committed perjury by lying under oath during the February 'B. 2617 show cause

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hearing She found -Stewart to be in contempt and referred her for -a -_second show
cause hearing

1.6. On June 6, 201", Stewart fled a premature appeal of Ju-dge Brown’s
ruling cuanng the Magistl*ate’s contempt deci$ion. The Tenth ,District 'C_ourl: of
App-eals dismissed Defendant?s appeal for lack of jurisdiction on June 30. 2017
(Case No. 17~AP-410_}.

17. Meanwhile. St.ewa):t had Eled counterclaims and a£{imnative defenses
implicating an arbitration clause in the parties’ written operating agreements.
According'ly, on November 19, 20'15, the court referred the partiejS-’ dispute to
arbitration and stayed the litigation of the underlying cla.ims. ARe);' much foot-
dra'gging`by Stewax't, the arbitration was commenced in September 20 161

18. Noi;wi'thstanding the pending arbitratiun,_ Ste-wart continued to 519
motie'ns in the Franklin County'case. 011 July 5, '2-01`7_, Stewart filed a ‘Motion-i`or
`Le;ave to Amencl and Prepare C!_-.‘oss Complaint Based Upon New Information"' on
Jn`ly 5. 201'?’. The Court denied that Mo't_i'on on Jul.y `11. 201'-'¢' due to the fact that
the case Was stayed pending arbitration and Stewart did not detail what “new
information” she possessed

19. 011 September 12, 2017, Stewa:rt filed a “Motion for Advancement; of
Fees" based on a statute that had no applicability to the case. 'I`hat motion was
denied on `December 12, 201.’:".

29. On Sepi_;em'he.l' IS, 2617, Ste'wa_rt- §led a “Motion for At£omey

-S-anctions" against -James Garnes. Plain`t:i&`s"` cscn:n:zs,de`lo alleging “;subord'in-ation of

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perjury,” ndtness i::elmfn=::¢'i.ngz and obai;ruction ofjnst.ice; This motion Was denied on
Decemher 12, 2017.

21. 011 January 8_. 2618. Stewart again Eled an appeal With the Tenth
App_ellate_ Dist`rict Court.-of Appeals: this time appealing Judge Brown`s Nove`mber
19, 2015- or-cier staying the case panding arbitration Inexplic'ably.,_ this appeal waa
filed main than two years after entry of the order in question and a.Rer the
arbitration proceedings Ware already concluded As with -`Stewart’a previous appe_al,
this appeal was dismissed on 'Fehru.ary 1, 2'018.

2`2. ’I‘h'e Fra'nkh`n Couni;y case is still pending RRL and Fir.eflyfIHT
prevailed at arbitration and the court entered judgment combining the arbitration
award on Febmary 5, 2018. Per her usual practice, Stewart has yet again appaaleci
Jndge .B):own"s order to the Tont_h Dis;tz:ic_t., Whicb appeal remains pending (Case No.
IB-AP-HS).

23. Over the course of this Ii.£igation, Stewa.rt has been represented by four
di‘E'erent law er'ns, all of whom have withdrawn 'She has represented h-er'séifpro
se since April. 2015'_, and there has been a notable nptink in her frivolous filings

Si'n'ce that time.

 

24. On Fe`brnary 5. 2015,-Ste.wart §l-ed a complaint against IHT with the
Ohio Dep-a-rtment of Insnranne,¢. alleging that IHT had committed various violations
of insurance regulationa. 'I`he D`epa-rtment did not ind any wrongdoing or take any

action against IHT.

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2-5_. 011 Jn'ne 1.0, 2015, Befendant filed an Ohio C`ivil Ri'ghta C'emmiasion
complaint againat`Plaintiffs, File No. COL71€41835)66 102015, alleging that.ahe Was
treated differently due to her sex and her :¢:elig'i\cml The Commissioa`s- initial
investigation found that there Was "`insu.i"iici_ent information to establish that
Respcndent unlawfully diacriminated” against Defendant._ Defendant filed a
“Requeat for Reconsideration” on Ap:rii 12,, 201`6, and the Camm'iasion yet again

issued a- “.no probable _cauae" 511ding on May .19,_ 20`16.

etC

 

26. 011 Fahruary. 29, 2016,, Defendant filed an embezzlement complaint
against Fritz and Wilh`am Gr'iiiioen, two members of RRL and officers of
`FireRy}IH'-F, in Wood C'ounty, Ohie, Case_Nn. 2016~'€\7~0327. Thi_s case is currently
stayed pending final resolution of the Frankliu County' case which Stewart has
repeatedly -delayed)-, The- claims are baseless and rest on similar allegations to

those rejected by the arbitration.panel.

 

2"?. Less than twa weeks later. Stewart liled an action against FireHy!II-IT
and RRL in '_i;h.e United States-.District Court for the Som;hem Bistr’ict of Ohia, Case
N_e.. 2::16-€§7-002-10, alleging viciafiions of ERISA. This case ia also currently stayed

pending arbitration of the Frankiin Caunt.y c-aae. _Again, the claims are basel.ess.

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28. 011 May 4, `20`1_6, Defend.an_t :Bked a grievanceth the .Sup;rem'e 'C.our_t_
of Ohio. Df§ce of Disciplinary C.ou'nsel__, F,ile No. BS-G§Bl, against one of P}aintifl`s’
attomeys, Zachary Madden, alleging a conflict of interest ’I'his file Was clogged on
May 19, 2016 without any'§n.ding-of`wrongdoing.

lai` A 'n tew 's fF.ormer ttorne .

29. St.ewart has -aise been sued for '$.15-,614;8_`3 in unpaid fees by one of her
former law ii_rms, `Muwery Youell & Gale-a:m. Ltd.. in F.r'ank]in County., Case N'o. 18~
'C`V-001994. On May' 16_,. 2018., Stewart (acting pro Se__) filed a 42'~pag`e, 295.~
paragraph countercan and third-party complaint-seeking more than $1‘5 million
in damages'. Stewart then removed the case to-fe'derai court (S.`D'. Ohio Case No, 18-
CfV-§BS`_),_ Where it remains pending 1011 Aug_ust 1.5, 2018, the fe&er.al court
requested bzieEng_ on federal ju-risdict_ion, as it does not appear 'S`tewariz had any
legitimate-basis for removing the ca-s_e.

30. Stewart’s substantive counterclaims are premised on the same made-
up “`embezzlement” scheme involving RRL and FireHinHT that Stewart_ has raised
in the past Ali:hou_g-h' they are not parties to this ease, Stew_art’s counterclaim-
m-akes numerous baseless accusations of criminal activity against RRL and
F`irefly!IHT, as well as their members. employeea, and attorneys. Needl_e`ss to Say,

all-of these accusations are baseless.

 

_3.1. PlaintiH`s incorporate the foregoing factual allegations.

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32, Stewart’e conduct has served merely to harass or malicioust injure
Plainti:&‘s and third parties;. was net warranted under existing law and was not
supported by a good faith argument fur an .exten-sion, me¢IiEcetiGn, or reversal of
eye-sting law;' anélo’r- was -.impose_d soler for delay Her conduct constitutes
vexatious.conduct'pursuant to R`.C. § 2323.52.-

33. `Stewart has habitually_,._persistently, end without reasonable grounds
engaged in vexatious eenduct.

34. Dei-`endant is a vexatious litigator as deEned by R.-C.- § 2323.52.

.35. Defendant is certain to continue to: engage in further vexatious conduct
unless she is prohibited from doing so by en Order of this Court.

\VHEREFORE,_ yieinti&`_s pray that this Hsnorable Court grant the following-relief

a. Declare that Defendant is a vexatious litigator pursuant to R.C. § 2323_.52.

b, Issue an Order, pursuant to R.C.. § 23_23.52({3)_, inde§nitely prohibiting
Defendant from instituting _epy iitig_ation, continuing any litigation,. or
making any application in any Iii'.:iga;tion, in any--ceurt of the State of Ohio or
its sub-di-visiens, without first obtaining'leave from this Ceurt.

_c. A_Ward' Plaintiffs attorney fees end costs for this action

d. Gz'ent any further relief to which Plain-!;ii:¥-`s _a;re entitled in the interest of
justice

Re_spect£izlly Suhmitt'ed,

_!.e¢' Me;m.ew T. K.e_ep

Jemee R. €arnes (00700-05)

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